Case 2:14-01-00228-JAD- WES EPETOR LE 4 Filed 04/08/20 Page 1 of 5

——_ FILED ——— RECEIVED
_——— ENTERED _———. SERVED ON

U te) Sta hes Distact ( - COUNSEL/PARTIES OF RECORD
mM mSTmnc OU
For The District of Nevieda APR 08 2020

 

 

 

 

 

 

 

 

 

C Las Vegas ? CLERK US DISTRICT COURT -
DISTRICT OF NEVADA
BY: DEPUTY
Charles €. Cooper Ir. Case No. 2114+CR-00228-JAD-CWH

Movant, Emergency Moti on For
Vv. Senterice Reduction Pues vant
United Stotes of America, te Title 18 3 3582)4) ACH

Respondent

Comes now, Charles &. Cooper, IT pro se, geile ith +his
“Emee gency Motion” and requests a sentence reduction
based upon Compelling and Extraordinary Circumstances,
dve cto the rapidly Spreading CoronaVicus orthin the
BOP and Movant's at risk health. As set forth mioce
Polly in the attached motion, and all metHecs of record,
Movants motion should be Immediate ly Granted.

—State ment of Facts—
“Movant is a D2 year old federal inmasxe thot suffers
from Asta , he has had both his tonsils, and adeno ds

removed due to breath, ng Complicotions. Movant has

Chronic. sleep apnea where he stops breathing in Wis sleep,
he is cucrently awaiting O CPA P Breathing Ma chine from the
BOP, Lastly Movant has been diagnosed as having an "

ver eg ulow heact beat.
Case 2:14-cr-00228-JAD-CWH Document 264 Filed 04/08/20 Page 2 of 5
Under 4itle 1¢ 6 3582 CI@C)C*) district courts have

the disccetion to grant sentence reductions kased upon
“Exteoaordinary and Compe ling CiceCUMsTances,

Movant has requested through electron cally wetten
requests to hig Unit Team and the Warden at F.CL Saf ford low
a Com passionate release due to his compromised rmmmd ne
system and the untor seen Covid-1% pandemic, to no avarl.
Movant has been told in electronic response that “the
Cocre Ctional program dicector is attempting te fig ure out
how to imple ment the [Cares ] act," and failed +o even
mention compassionate release.

See Unted States v. Brannan No.4 |S-CR- 30-01 (SD.T
Aei\ Z, 2020) (+heugh not reflected in order, emer gency
motion WAS granted ON Same day as filing for prisoner
Who had served only G month s of a BG month sentence
for fraud at FCY Oakdale and had not exhwsted BoP
reme dies)

Moont has Served ap proxivmarely 6 y ears of a |0 year
sentence Lor the Non-Violent crime of loeing a felon in

( 4
“Construcki ve poSSe3510n of a Lee arm pucsuant ty title j&s

YZ 2% Cag) C4) and could potentially le colated ec leased to
Home Confinement in approximate ly 6 40 Vmonths. As such,
Movant wishes to be released to 2300 Silverado Ranch Blvd #//70
les Vegas, Nv. ¥A1S3, to reside with and eave foe his ailing
mother who recendly had a Stroke on Fel, 28 2020, and
after Comina home from rehab, Fell and broKe Sribs on
March ZY, 2020.

Movants Lmmune System las been considorably
Com promised ly his on 9G ing health conditions,

none 2 ot 4
Case area ocument 264 Filed 04/08/20 Page 3 of5 L
which WA AUcnN coul Crarat is CreManiIg +o 7 months

loefere Home Confinement into a Death Sentence if exposed
do the Corona Vieus.

Movant is unolle do provide se(F-cace within the
enviroment of ECA Safford Low ja lio ht of +the growing
Covid-14 pandemic because he is Unable +o adhere te the
social dist ancing and hy giene require ment in his current
Dorm Living conditions. Movant has heen quartanti ned) with Ws
inviates in a conkined cpace(in Oo petri dish ) No doors
no aceess +0 a mop room, inmates ace being forced to
change mop water iq the same ghowers where al!
IS inmates are Ffocced to shower in 1 restroom -

Courts have recevitly Royad that the cicecumstances fice)
by the pcison) sy stem ducing +his highly contagious, potentially
fatal pandemic ave un preee dented and that itis no stretch fo
Cath this enuirgon ment " Extraordinacy and Compe ling.
Movant has been apprised by BOP UnitTeam, that he
gualifies foe the maximum bene fits provided by the
First Step Act and also that he was acsessed as Qa low
on the pattern test with a low msk of recividism. T+
should be noted that there are atleagt two confirmed
Cases of Coud-lF in the town of Satfacd, A2. tt is on ly
a matter of time hefore itis introduced into this
FCT Saflord Lew Facility .

Conclusion
Movarrt Movant submits that he should not have his

( iV

re May Ning (months

of Im ecison ment potentially turned
vate a Death Sentence by working on this pandemic
to altock Ett SoM Cord -low and that this "Emergency
Motion for servtence Reduction be Granted and Movant
ange 3 of
Sask Se Bere CWH Document 264 Filed 04/08/20 Page 4 of5
be Twymedta ely e leased.

Doted Aor! § Zv2z0 Respecttel\y Submi 4ted

Charles E, Coo eer Tr.
Reg.Nv .49Z1¢-0 Ve

FCYr Salford
V7.0 Box GYooo
Safford, A2 B554¢

Certificate of Secvice
T, Charles EF. Cooper Jr. do here by cectify under
penalty of perjucy that & placed A Corey of the fore Gorrg
Emergency Motion For Sentence Keductov pursuant to
title [8¥ 3592 CAA) in the priser officers hands
to be mailed vin U.SMal to the clerk of the
United AGtates Dietrich Couct Lor the. District of

Nevada +o be Liled wr the Desteick Court.

Respe 4+Fully Submitted
Dated Apri/S 2020 hachtfndleguniygzin

Clee K of the Court Cran ee AE Cooper Ie,
eg NO 4421 9-~0uN §
U.S District Couct of Novada pet seftard.

333 Las Vegas Blud. 7. Po Bax Goao
Los Vegas; NV Sol Sofford AZ BSs7¢

gage Yot 4
 

Klag - Veo: YB219-OYF

Bib aglod

   

 

 

701k 2070 ooog0 OF4e 5753

 

 

 

00228-JAD-CWH Document 264 Filed 04 0
\

 

 

-Cr-

 

 

Case 2:14

 

 

 

 
